           Case 1:05-cr-00205-AWI Document 39 Filed 01/10/06 Page 1 of 2


1
2
3
4
5
6
7
8                   IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        1:05-CR-00205-AWI
                                   )
12             Plaintiff,          )        ORDER ON GOVERNMENT’S
                                   )        APPLICATION FOR ORDER
13                                 )        REGARDING CRIMINAL FORFEITURE
          v.                       )        OF PROPERTY IN GOVERNMENT
14                                 )        CUSTODY - 18 U.S.C. §
     JASON PATRICK JOSEPH LOMBARDO,)        983(a)(3)(B)(ii)(II)
15   ZACHARY DAVID FOLKES, and     )
     GAYLIA LOMBARDO,              )
16                                 )
                Defendants.        )
17   ______________________________)
18        This matter comes before the Court on the motion of the
19   United States for an Order authorizing the Government and its
20   agencies to maintain custody of certain properties pending the
21   conclusion of the pending criminal case.       For the reasons
22   provided in the Government’s motion, the Court makes the
23   following orders:
24        IT IS HEREBY ORDERED, that the United States and its
25   agencies, including the DEA and/or the U.S. Marshals Service, are
26   authorized to maintain and preserve the following assets until
27   the conclusion of the instant criminal case, or pending further
28   Order of this Court:

                                        1
              Case 1:05-cr-00205-AWI Document 39 Filed 01/10/06 Page 2 of 2


1         a)      Approximately $20,905.00 in U.S. Currency;
2         b)      2002 GMC Sierra 4x4 Pickup, License Number 6V46987,
3                 VIN: 2GTEK19TX21212155;
4         c)      1999 Chevrolet Corvette, License Number 5DAE322, VIN:
5                 1G1YY32G2X5110853; and,
6         d)      1997 Sanger Boat, License Number CF8730PC, VIN:
7                 SANLX267G697, with Trailer License Number 4EU2495.
8
9    IT IS SO ORDERED.
10   Dated:    January 9, 2006                /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           2
